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            EXHIBIT D
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July 13, 2020


VIA EMAIL

Antonio J. Perez-Marques, Esq.
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Re: Subpoenas issued by Facebook to Non-Parties Omri Lavie and Josh Shaner

Dear Counsel:

This letter responds to yours, sent by email on July 10, concerning Facebook’s subpoenas to our
clients Omri Lavie and Josh Shaner. In your letter, you state that Facebook is amenable to
discussing modifications of its requests. We would welcome a discussion about how to limit the
overbroad requests served by your co-counsel.

Note that your letter appears to cite an unpublished order erroneously for the proposition that
discovery in the Ninth Circuit proceeds in the absence of a stay without regard to objections. Apple
Inc. v. Eastman Kodak Co., No. CV 10-04145 JW PSG, 2011 WL 334669, at *2 (N.D. Cal. Feb.
1, 2011) The actual holding of the case is: “Unless and until discovery is stayed, [the responding
party] may not refuse to produce relevant responses and documents absent a valid objection.” Id.
(emphasis added).

Even if unpublished orders were binding, the one you reference would be inapplicable. Parties
obviously may raise valid objections as a basis not to comply with objectionable discovery
requests. Moreover, unlike the propounding party in Apple Inc., Facebook has not established that
the requested discovery meets the requirements of Federal Rule of Civil Procedure 26(b)(1), and
we have not discussed all the objections asserted by nonparties Lavie and Shaner. We welcome a
discussion concerning the additional objections and why Facebook believes its subpoenas comply
with Rule 26(b)(1)’s proportionality requirement.
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Antonio J. Perez-Marques, Esq.
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As we did discuss on June 30, Federal Rule of Civil Procedure 26(b)(1) limits a party’s right to
obtain discovery to “any nonprivileged matter that is relevant to any party's claim or defense and
proportional to the needs of the case,” in light of enumerated factors that include the importance
of the information and the burden of producing it. You assert that my clients’ objections are “based
on an incorrect and unduly narrow reading of the complaint” and claim that Facebook’s
“allegations and claims are not limited to a single software (Pegasus) or a single exploit.” You
drop a “see generally” citation to Facebook’s opposition to NSO’s motion to dismiss, Dkt. No.
109, but we do not believe that a “claim or defense” within the meaning of Rule 26(b)(1) can be
established by arguments in that pleading. If there is authority to the contrary, we would welcome
the opportunity to consider it. Alternatively, please identify a “claim or defense” in this case that
mentions anything beyond the use of Pegasus with respect to the devices of specific WhatsApp
customers (identified as “Target Devices” in the complaint).

As indicated above, we also would like to understand how Facebook’s requests to Mr. Lavie and
Mr. Shaner possibly can satisfy the proportionality and other requirements of Fed. R. Civ. P.
26(b)(2). As you know, courts discourage burdensome discovery requests that misuse and
weaponize the discovery process because they allow parties with unlimited legal budgets to impose
exorbitant and unfair costs on opposing parties and non-party discovery targets such as Mr. Lavie
and Mr. Shaner.

Finally, we have never discussed Defendants’ objections and responses to the Rule 34 requests for
production, which were not served until almost a week after our June 30 conference. If you would
like to confer pursuant to Local Rule 37-1(a) about NSO’s objections and responses, we would be
pleased to do so. At our conference of counsel, consistent with the Local Rules, we propose to
discuss Facebook’s “contention that it is entitled to the requested discovery and … how the
proportionality and other requirements of Fed. R. Civ. P. 26(b)(2) are satisfied.” L.R. 37-2. I think
the Court expects lawyers to make a good-faith effort to tailor their requests and refrain from
treating discovery as a fishing expedition. See Apple Inc., 2011 WL 334669, at *3 (N.D. Cal. Feb.
1, 2011) (discussing’s Apple’s compliance with Rule 26(b)(1) and efforts to obtain discovery
without court intervention).

Thank you for your consideration. Please contact me if further information is required.

                                              Very truly yours,



                                              Joseph N. Akrotirianakis

JNA:wt

cc:   A. Craig
      All Counsel for the Plaintiffs
